                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:05CV119-1-MU
                                  3:02CR152-MU



THOMAS WILLIAM FIELDER,             )
                                    )
            Petitioner,             )
                                    )
            v.                      )                        ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


       THIS MATTER comes before the Court upon Petitioner’s Motion for Transcripts and

Petitioner’s Motion to Release Sealed Material to Printer and for Prepayment of Fees, both filed

April 1, 2005.

       In his the above-referenced motions, Petitioner requests that the Court assist him in

obtaining certain documents to help him prepare his § 2255 motion. On April 5, 2005, this Court

granted Petitioner’s § 2255 motion. Consequently, because Petitioner no longer has a pending

§ 2255 motion before this Court, his motions are now moot.

       THEREFORE, IT IS HEREBY ORDERED that:

       1. Petitioner’s Motion for Transcripts is DENIED; and

       2. Petitioner’s Motion to Release Sealed Material to Printer and for Prepayment of Fees

is DENIED.




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